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                       IN THE UNITED STATES DISTRICT COURT
                      FOR THE NORTHERN DISTRICT OF INDIANA
                                HAMMOND DIVISION

JOHN DOE,                                                        )
                                                                 ) CIVIL ACTION
             Plaintiff,                                          )
v.                                                               )
                                                                 )
PURDUE UNIVERSITY, PURDUE UNIVERSITY                             )
BOARD OF TRUSTEES, MITCHELL ELIAS                                )
DANIELS, JR., individually and as agent for Purdue               )
University, ALYSA CHRISTMAS ROLLOCK,                             ) No. 2:17-cv-00033-JPK
individually and as agent for Purdue University,                 )
KATHERINE SERMERSHEIM, individually and as                       )
agent for Purdue University, ERIN OLIVER, individually           )
and as agent for Purdue University, JACOB                        )
AMBERGER, individually and as agent for Purdue                   )
University,                                                      )
                                                                 )
              Defendants.                                        )


  NOTICE OF EXTENSION OF TIME FOR DEFENDANTS PURDUE UNIVERSITY,
 PURDUE UNIVERSITY BOARD OF TRUSTEES, MITCHELL ELIAS DANIELS, JR.,
  ALYSA CHRISTMAS ROLLOCK, KATHERINE SERMERSHEIM, ERIN OLIVER
    AND JACOB AMBERGER TO RESPOND TO PLAINTIFF’S COMPLAINT

        Defendants, Purdue University, Purdue University Board of Trustees, Mitchell Elias

Daniels, Jr., Alysa Christmas Rollock, Katherine Sermersheim, Erin Oliver and Jacob Amberger

(“Defendants”), by counsel, respectfully give notice pursuant to N.D. IND. L.R. 6-1 of an

extension of time to September 3, 2019 to respond to Plaintiff’s Complaint. In support of this

Notice, Defendants state:

        1.     Following the July 22, 2019 Mandate reopening this case, Defendants’ pleading

in response to Plaintiff’s Complaint is due on August 5, 2019.

        2.     Defendants require additional time, twenty-eight (28) days, within which to plead

in response to Plaintiff’s Complaint, up to and including September 3, 2019.


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        3.     The undersigned counsel has contacted Plaintiff’s counsel and confirmed that

Plaintiff’s counsel consents to the requested extension.



                                              Respectfully submitted,



                                              /s/ William P. Kealey
                                              William P. Kealey, Attorney No. 18973-79
                                              Tyler L. Jones, Attorney No. 34656-29
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                                              Attorney for Defendants Purdue University,
                                              Purdue University Board of Trustees, Mitchell
                                              Elias Daniels, Jr., Alysa Christmas Rollock,
                                              Katherine Sermersheim, Erin Oliver and Jacob
                                              Amberger




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